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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

UNITED STATES OF AMERICA,

‘ Criminal Action No. 19-148-1 (CKK)
PRAKAZREL MICHEL,

Defendant.

 

 

ORDER
(March 7, 2023)

Before the Court is the Government’s [204] Motion for an Order to Show Cause for
contempt. Upon consideration of defense counsel’s [205] Response thereto, the Government’s
[204] Motion for an Order to Show Cause is HELD IN ABEYANCE pending trial. As to prior
conduct, the Court cannot grant any relief at this time that would not also prejudice judicial
economy and the conduct of trial. However, to the extent that the Government requests that the
Court regulate defense counsel’s and/or Defendant’s communications and the Government’s
obligations under the [209] Trial Procedures Order prior to and during trial, the Government may
file a motion for such relief on or before March 9, 2023.

SO ORDERED.

Dated: March 7, 2023 }
We, Kblot Ay

COLLEEN KOLLAR-KOTELLY
United States District Judge
